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   x   Count Two of the Information (conspiracy to commit money laundering): incarceration for
       twenty years; supervised release for three years; a fine of $500,000, or twice the gross
       gain/loss, whichever is greater; a mandatory special assessment of $100; restitution; and
       forfeiture to the extent charged in the Information.

   x   Count Three of the Information (conspiracy to defraud the United States): incarceration for
       twenty years; supervised release for three years; a fine of $250,000, or twice the gross
       gain/loss, whichever is greater; a mandatory special assessment of $100; and restitution.

   x   Count Four of the Information (obstruction of justice): incarceration for five years;
       supervised release for three years; a fine of $250,000; and a mandatory special assessment
       of $100.


        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

       3.       Sentencing Guidelines

        The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines (“USSG” or
“Guidelines”). While the Court may impose a sentence up to and including the statutory maximum
term of imprisonment and statutory maximum fine, it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a sentence.

        The parties will take the position that Defendant’s total offense level under the USSG (prior
to any adjustment for acceptance of responsibility) is calculated as follows:

                a) in accordance with USSG § 2E1.1(a)(2) and USSG § 2B1.1(a)(1), Defendant’s
                   base offense level is seven, because Defendant is pleading guilty to offenses of
                   conviction that have a statutory maximum term of imprisonment of 20 years or
                   more;

                b) in accordance with USSG § 2B1.1(b)(1)(L), Defendant’s offense level is
                   increased by 22, because the gain or loss from the offenses of conviction and
                   related conduct is more than $25,000,000 but not more than $65,000,000;
                                                2
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